      Case 1:18-cv-23684-UU Document 11 Entered on FLSD Docket 09/26/2018 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Southern District of Florida


  Carmen Siebler as Personal Representative of the                    )
             Estate of George Siebler                                 )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 1:18-cv-23684-UU
                                                                      )
        Purdue Pharma, LP, Purdue Pharma, Inc.                        )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PURDUE PHARMA, LP
                                           CORPORATION SERVICE COMPANY
                                           1201 HAYS STREET
                                           TALLAHASSEE, FL 32301-2525




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Joseph A. Osborne
                                           OSBORNE & FRANCIS, PLLC
                                           433 Plaza Real Blvd., Suite 271
                                           Boca Raton, Florida 33432
                                           Telephone (561) 293-2600


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




           Sep 25, 2018
Date:
                                                                                                         s/ Doris Jones
      Case 1:18-cv-23684-UU Document 11 Entered on FLSD Docket 09/26/2018 Page 2 of 2

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           Sep 25, 2018
Date:
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